       Case 4:11-cr-00290-LPR         Document 613        Filed 11/03/15      Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                   NO. 4: 11 CR00290-05 JLH

ERNEST RICHARD                                                                    DEFENDANT


                          JUDGMENT and COMMITMENT ORDER

       Court convened on Tuesday, November 3, 2015, for the scheduled hearing on the

government's superseding motion to revoke supervised release. Assistant United States Attorney

Stephanie Mazzanti was present for the government. The defendant appeared in person with his

attorney, Assistant Federal Public Defender Kim Driggers. United States Probation Officer Bradley

Anderson also present.

       Upon inquiry from the Court, the defendant admitted all violations except those concerning

the pending state charges in Fulton County Circuit Court. No proof was offered concerning the

Fulton County charges. Accordingly, the Court finds that the violations admitted by defendant

occurred, and the superseding motion to revoke supervised release is GRANTED. Document #610.

       IT IS THEREFORE ORDERED that defendant be sentenced to 30 DAYS

IMPRISONMENT. A term of supervised release of one (1) year is imposed to follow

imprisonment with the following special conditions:

       •      All general and standard conditions previously imposed remain in full force and
              effect.

       •      The defendant must participate under the guidance and supervision of the U.S.
              Probation Office, in a substance abuse treatment program, which may include
              inpatient substance abuse treatment, testing, outpatient counseling, and residential
              treatment. The defendant must abstain from the use of alcohol throughout the course
              of treatment.
       Case 4:11-cr-00290-LPR         Document 613       Filed 11/03/15     Page 2 of 2



       •      The defendant must participate in mental health counseling under the guidance and
              supervision of the U.S. Probation Office and contribute to the costs based on his
              ability to pay.

       The defendant is remanded to the custody of the United States Marshal to immediately

begin serving his sentence.

       IT IS SO ORDERED this      7of..   day of November, 2015.




                                                  UNITED STATES DISTRICT JUDGE
